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Piainiirr,
vs. cR. No. 02-20498»3

DISCOUNT SATELL|TE 81 EQU|Pl\/|ENT SALES, et al.,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time counsel for
the government requested a continuance of the Ju|y 5, 2005 trial date due to the
defendants’ fugitive status

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Mondav. Ju|v 25. 2005. at 9:30 a.m., in Courtroorn 1. 11th Floor of the
Federa| Building, |Vlemphis, TN.

The period from ..Iu|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(1)(A) and (B) because the defendants are either absent or unavailable
and their presence cannot be determined or obtained by due diligence

al
|T lS SO ORDERED this § day Of Ju|y, 2005.

 

J A iEL BREEN \
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ent entered on the docket sheet in compliance

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UNITED sTATE D"ISICT COURT - WESTER D's'TRCT oFTENNEssEE

     
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:02-CR-20498 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

